      Case 2:18-cr-00422-DJH Document 1583-1 Filed 05/09/23 Page 1 of 2




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 8                                  UNITED STATES DISTRICT COURT
 9                                  FOR THE DISTRICT OF ARIZONA
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11 United States of America,                      CASE NO. 2:18-cr-00422-004-PHX-DJH
12                     Plaintiff,                 [PROPOSED] ORDER
13               vs.                              Assigned to Hon. Diane J. Humetewa,
                                                  Courtroom 506
14 Michael Lacey, et al.,
15                     Defendants.
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     3867224.1
                                               ORDER
      Case 2:18-cr-00422-DJH Document 1583-1 Filed 05/09/23 Page 2 of 2




 1                                       [PROPOSED] ORDER
 2               Upon the motion of Defendant John Brunst, with good cause appearing, and with no
 3 objection from the Government,
 4               IT IS ORDERED that Mr. Brunst’s counsel may appear at the May 22, 2023
 5 hearing in this action by virtual teleconference.
 6
 7               IT IS SO ORDERED.
 8
 9 Date:
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                                                   Hon. Diane J. Humetewa
11                                                 United States District Judge
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